  Case: 1:11-cv-01773 Document #: 497 Filed: 09/28/17 Page 1 of 5 PageID #:16446



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

  DARVETTE SMITH, NATALIE                               Case No. 11-cv-1773
  HODOROVYCH, ERIN BOX, and BLAKE
  BREZINSKY, individually and on behalf of a            Hon. John Z. Lee
  class of others similarly situated,
                                                        Magistrate Judge Cole
            Plaintiffs,

                    v.

  FAMILY VIDEO MOVIE CLUB, INC.,

            Defendant.

 ORDER GRANTING PRELIMINARY APPROVAL OF CLASS AND COLLECTIVE
                     ACTION SETTLEMENT

       Plaintiffs, Darvette Smith, Natalie Hodorovych, Erin Box, and Blake Brezinsky

(“Named Plaintiffs”), on behalf of themselves and all persons whom they seek to represent

(“Plaintiffs”), have filed a motion for preliminary approval of a proposed collective and class

action settlement, which Defendant, Family Video Movie Club, Inc. (“Defendant”), does not

oppose. After reviewing the Parties’ proposed Settlement Agreement and Release, together

with the proposed Notice of Settlement and other attachments thereto, as well as Plaintiffs’

Unopposed Motion for Preliminary Approval of Collective and Class Action Settlement and

supporting documents, and based upon the arguments of counsel, the Court finds and orders

as follows:

       1.         The Court finds, for purposes of settlement, that the class certification

requirements of the Federal Rules of Civil Procedure 23(a) and 23(b)(3) are satisfied with respect

to the Rule 23 Settlement Classes. The Court therefore certifies the Rule 23 Settlement Classes

for settlement purposes.




                                                    1
  Case: 1:11-cv-01773 Document #: 497 Filed: 09/28/17 Page 2 of 5 PageID #:16447




        2.      The Court finds, for purposes of settlement, that the collective action certification

requirements of 29 U.S.C. § 216(b) are satisfied with respect to the FLSA Settlement Classes.

The Court therefore certifies the FLSA Settlement Classes for settlement purposes.

        3.      The Court finds on a preliminary basis that the settlement (“Settlement”)

memorialized in the “Settlement Agreement and Release” (“Settlement Agreement”) is fair,

reasonable and adequate, and therefore, meets the requirements for preliminary approval. The

Settlement is the result of arm’s-length negotiations between experienced attorneys who are

familiar with class and collective action litigation in general and with the legal and factual issues

of this case in particular.

        4.      The Court appoints Named Plaintiffs as the Class Representatives, and Plaintiffs’

counsel, Girard Gibbs LLP, and Gibbs Law Group as Class Counsel for the Settlement Classes.

         5.     The Court appoints Dahl Administration LLC as the Claims Administrator.

         6.     The Court approves, as to form and content, the proposed Notice of Settlement

attached to the Settlement Agreement. The Class Notice is accurate, objective, and informative,

and it provides members of the Settlement Classes with all information necessary to make an

informed decision regarding their participation in the Settlement and its fairness. The notice

protocol detailed in the Settlement Agreement will provide sufficient notice of the proposed

Settlement and the Final Approval Hearing to the affected persons and entities. Under the

circumstances, the Class Notice and the notice protocol detailed in the Settlement Agreement

provide the best notice practicable to the Settlement Class Members, and they meet the

requirements of Federal Rule of Civil Procedure 23, due process, the Constitution of the United

States of America, the laws of the State of Illinois, and all other applicable laws.




                                                  2
 Case: 1:11-cv-01773 Document #: 497 Filed: 09/28/17 Page 3 of 5 PageID #:16448




       7.     Class Counsel shall file any motion for attorneys’ fees and costs and incentive

awards to the named Plaintiffs at least 14 days prior to the deadline for Class Members to object

to or opt-out of the Settlement.

       8.     A hearing, for purposes of determining whether the Settlement should be

finally approved, shall be held before this Court on January 30, 2018 at 11:00 a.m. in Courtroom

1225 of the United States District Court for the Northern District of Illinois, 219 S. Dearborn,

Chicago, Illinois. At the hearing, the Court will hear arguments concerning whether the

proposed Settlement of the litigation on the terms and conditions provided for in the Settlement

Agreement is fair, reasonable and adequate and should be approved by the Court. The Court

will also consider Class Counsel’s request for an award of attorneys’ fees and costs and for the

Service Payments to be made to the Named Plaintiffs.

       9.     Pending the Court’s decision on final approval of the Settlement and entry of

the Court’s Final Approval Order, Named Plaintiffs and all Class Members and anyone

acting on behalf of any Class Member shall be barred and enjoined from: (a) further

litigation in this case; or (b) filing or taking any action, directly or indirectly in any forum to

commence, prosecute, pursue, or participate on an individual or class or collective action

basis any action, claim, or proceeding against Defendant in which any of the released claims

(as set forth in the Settlement Agreement) are asserted, or which would prevent any of the

released claims from being extinguished.

       10.    All Rule 23 Class Members who fail to exercise their right to opt-out of the Rule

23 Settlement Class shall be bound by all determinations and judgments in the litigation

concerning the Settlement, whether favorable or unfavorable to the Rule 23 Settlement Class.




                                                 3
  Case: 1:11-cv-01773 Document #: 497 Filed: 09/28/17 Page 4 of 5 PageID #:16449




        10.    All Rule 23 Class Members wishing to opt-out from or object to the Settlement or

its terms must do so in writing and in accordance with the Class Notice. Such objections and

exclusions must be mailed to the Claims Administrator and be postmarked no later than forty

(40) days after notice is mailed.

        11.    Any Rule 23 Class Member may enter an appearance in the litigation, at his or her

own expense, individually or through counsel of his or her own choice. Any Rule 23 Class

Member who does not enter an appearance or opt-out of the Rule 23 Settlement Class will be

represented by Class Counsel.

        12.    Any Rule 23 Class Member may appear at the Final Approval Hearing and show

cause why the proposed Settlement should or should not be approved as fair, reasonable, and

adequate; why a judgment should or should not be entered thereon; why any requested

attorneys’ fees and costs should or should not be awarded to Class Counsel; or why Named

Plaintiffs should or should not receive extra compensation in the form of Service Payments.

No Rule 23 Class Member or any other person, however, shall be entitled to object to the

proposed Settlement, including requested Service Payments, attorneys’ fees, and costs, or any

judgment approving the Settlement, unless that person has followed the procedures for

objecting to the Settlement, including providing all bases for his or her objections. All timely

objections shall be considered and ruled upon by the Court at the Final Approval Hearing.

Any Rule 23 Class Member who does not timely file and serve his or her objection in the

manner provided in the Settlement Agreement shall be deemed to have waived such

objection and shall forever be foreclosed from making any objection to the fairness or

adequacy of the proposed Settlement, including requested Service Payments, attorneys’ fees,

and costs, or any judgment approving the Settlement, unless otherwise ordered by the Court.


                                               4
  Case: 1:11-cv-01773 Document #: 497 Filed: 09/28/17 Page 5 of 5 PageID #:16450




       15.    Class Counsel shall file their Motion for Final Approval of Settlement no later

than fourteen (14) days prior to the Final Approval Hearing.

       16.    In the event that the Effective Date (as defined in the Settlement Agreement) does

not occur, the Settlement and the Settlement Agreement shall be deemed null and void and shall

have no effect whatsoever.

       17.    The parties are ordered to carry out the Settlement according to the terms of the

Settlement Agreement.


IT IS SO ORDERED.

Dated this 28th day of September, 2017




                                            ____________________________________
                                            HONORABLE JOHN Z. LEE
                                            U.S. DISTRICT COURT FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS




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